                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                              CHARLESTON DIVISION


UNITED STATES OF AMERICA,



v.                                       CRIMINAL ACTION NO. 2:22-cr-00097

RANDY PRICE



                      MEMORANDUM OPINION AND ORDER

      The question before the court is whether 18 U.S.C. § 922(g)(1), which prohibits

felons from possessing firearms, and 18 U.S.C. § 922(k), which prohibits possession

of a firearm with an altered, obliterated, or removed serial number, are constitutional

after the Supreme Court’s recent decision in New York State Rifle & Pistol Ass’n v.

Bruen, 142 S. Ct. 2111 (2022). After considering the arguments presented here, I find

that Section 922(g)(1) is constitutional, but I find that Section 922(k) is not. For the

following reasons, Mr. Price’s motion to dismiss the indictment against him is

GRANTED as to Count Two and DENIED as to Count One.

 I.   BACKGROUND

      On July 16, 2019, officers with the Charleston Police Department conducted a

traffic stop on Mr. Price’s vehicle for having an improper display of registration. [ECF

No. 23, at 2]. Through that stop, officers discovered a pistol in Mr. Price’s vehicle with

an obliterated serial number. Id. At the time he allegedly possessed the pistol, Mr.
Price had been convicted in Ohio of the felony offenses of involuntary manslaughter

and aggravated robbery. [ECF No. 1, at 1]. Mr. Price was indicted by grand jury on

May 3, 2022, for being a felon in possession of a firearm in violation of 18 U.S.C. §§

922(g)(1) and 924(a)(2) (Count One) and for possession of a firearm with an

obliterated serial number in violation of 18 U.S.C. §§ 922(k) and 924(a)(1)(B) (Count

Two). [ECF No. 1, at 1–3].

II.   LEGAL STANDARD

      Under Federal Rule of Criminal Procedure 12, the court should dismiss

criminal charges in an indictment “where there is an infirmity of law in the

prosecution[,]” such as when the statute charged is unconstitutional. United States

v. Engle, 676 F.3d 405, 415 (4th Cir. 2012). Mr. Price makes a facial challenge to

Section 922(g)(1) and Section 922(k). “A facial challenge to a legislative Act is, of

course, the most difficult challenge to mount successfully, since the challenger must

establish that no set of circumstances exists under which the Act would be valid.”

United States v. Salerno, 481 U.S. 739, 745 (1987).

      Until recently, federal courts uniformly applied at least intermediate scrutiny

to firearms laws and conducted a means-end analysis to determine whether the

state’s interest in the regulation was sufficient to overcome whatever burden the law

placed on one’s Second Amendment right. See, e.g., United States v. Carter, 669 F.3d

411 (4th Cir. 2012). In Bruen, however, the Supreme Court of the United States

determined that all of the lower courts had been incorrect in applying means-end

scrutiny. N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022). Rather than



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balancing any government interest, no matter how important the interest may be in

our modern society, the Supreme Court reaffirmed what it said in Heller:

“Constitutional rights are enshrined with the scope they were understood to have

when the people adopted them.” Id. (quoting District of Columbia v. Heller, 554 U.S.

570, 634–35 (2008)) (emphasis in original). Because the Second Amendment was

adopted in 1791, only those regulations that would have been considered

constitutional then can be constitutional now.

      As other districts have recognized, “Bruen transformed and left uncharted

much of the legal landscape.” United States v. Charles, No. MO:22-CR-00154-DC,

2022 WL 4913900, at *1 (W.D. Tex. Oct. 3, 2022). Nevertheless, the Supreme Court

provided the following mandate:

             In keeping with Heller, we hold that when the Second
             Amendment’s plain text covers an individual’s conduct, the
             Constitution presumptively protects that conduct. To
             justify its regulation, the government may not simply posit
             that the regulation promotes an important interest.
             Rather, the government must demonstrate that the
             regulation is consistent with this Nation’s historical
             tradition of firearm regulation. Only if a firearm regulation
             is consistent with this Nation’s historical tradition may a
             court conclude that the individual’s conduct falls outside
             the Second Amendment’s unqualified command.

Bruen, 142 S. Ct. at 2126 (internal citations omitted).

      The Second Amendment to the United States Constitution states that “[a] well

regulated Militia, being necessary to the security of a free State, the right of the

people to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II.




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III.   DISCUSSION

       In his motion to dismiss, Mr. Price argues that the conduct prohibited by 18

U.S.C. §§ 922(g)(1) and 922(k) is protected by the plain text of the Second Amendment

and was unregulated in 1791. [ECF No. 12]. Relying on the Supreme Court’s holding

in Bruen, Mr. Price argues that these statutes are facially unconstitutional. In

response, the Government argues that historically, the Second Amendment’s

protections do not extend to possession of firearms by convicted felons, and

undisturbed “Supreme Court precedent does not cast doubt on laws imposing

conditions and qualifications on the commercial sale of firearms, including a

prohibition on the obliteration of serial numbers.” [ECF No. 17, at 1]. In addition, the

Government argues that the statutes are “sufficiently analogous to historical

regulations to be deemed longstanding” and cites to historical evidence supporting

the tradition of keeping firearms out of the hands of dangerous people, such as

convicted felons. Id. at 6–10.

          A. 18 U.S.C. § 922(k)

       Because no other court has yet addressed it post-Bruen, I first consider

whether the statute charged in Count Two of the Indictment, 18 U.S.C. § 922(k), is

constitutional.

       Section 922(k) states, in pertinent part,

             It shall be unlawful for any person knowingly to transport
             . . . in interstate or foreign commerce, any firearm which
             has had the importer’s or manufacturer’s serial number
             removed, obliterated, or altered or to possess . . . any
             firearm which has had the importer’s or manufacturer’s
             serial number removed, obliterated, or altered and has, at

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             any time, been shipped or transported in interstate or
             foreign commerce.

18 U.S.C. § 922(k).

                                        1.

      The threshold question is whether Section 922(k) prohibits conduct that is

protected by the plain text of the Second Amendment. Bruen, 142 S. Ct. at 2126. The

Government argues that it does not because the requirement that firearms bear serial

numbers is, in its view, a “commercial regulation” that does not “infringe” on one’s

right to keep and bear arms. The Government’s argument relies mainly on its

contention that no relevant Supreme Court precedent casts “doubt on laws imposing

conditions and qualifications on the commercial sale of arms.” [ECF No. 17, at 1

(emphasis supplied)]. In his concurring opinion in Bruen, Justice Kavanaugh

explained that the Court did not intend “to cast doubt on . . . laws imposing conditions

and qualifications on the commercial sale of arms”. Bruen, 142 S. Ct. at 2162

(Kavanaugh, J., concurring). This idea is rooted in Heller and McDonald—precedent

that Bruen reaffirmed—which also left commercial regulations untouched. 554 U.S.

at 626–27; McDonald v. City of Chicago, 561 U.S. 742, 786 (2010). This makes sense

because commercial regulations that apply only to manufacturers and sellers do not

implicate an individual’s right of possession.

      Importantly though, the statute at issue here is not a commercial regulation.

Rather, 18 U.S.C. § 923(i) is the commercial regulation that requires manufacturers

to place serial numbers on firearms: “Licensed importers and manufacturers shall

identify by means of a serial number engraved or cast on the receiver or frame of the

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weapon . . . each firearm imported or manufactured by such importer or

manufacturer.” 1,2 Other commercial regulations may well require that any firearm

sale only involve firearms bearing a manufacturer’s serial number. Section 922(k)

goes farther. It criminalizes the mere possession of a firearm after a serial number is

removed, obliterated, or altered in any way, whether or not the firearm is then placed

into commerce.

       Assume, for example, that a law-abiding citizen purchases a firearm from a

sporting goods store. At the time of the sale, that firearm complies with the

commercial regulation that it bear a serial number. The law-abiding citizen takes the

firearm home and removes the serial number. He has no ill intent and never takes

any otherwise unlawful action with the firearm. Contrary to the Government’s

argument that Section 922(k) does not amount to an “infringement” on the law-

abiding citizen’s Second Amendment right, the practical application is that while the

law-abiding citizen’s possession of the firearm was originally legal, it became illegal

only because the serial number was removed. He could be prosecuted federally for his

possession of it. That is the definition of an infringement on one’s right to possess a

firearm.

       Now, assume that the law-abiding citizen dies and leaves his gun collection to

his law-abiding daughter. The daughter takes the firearms, the one with the removed




1 26 U.S.C. § 5842(a) is a similar commercial regulation requiring manufacturers of certain types of
firearms such as machine guns and short barreled shotguns, known as NFA firearms, to “identify each
firearm . . . by a serial number.”
2 I only presume this commercial regulation to be constitutional and do not undertake further analysis

here because the statute at issue is not a commercial regulation.

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serial number among them, to her home and displays them in her father’s memory.

As it stands, Section 922(k) also makes her possession of the firearm illegal, despite

the fact that it was legally purchased by her father and despite the fact that she was

not the person who removed the serial number. These scenarios make clear that

Section 922(k) is far more than the mere commercial regulation the Government

claims it to be. Rather, it is a blatant prohibition on possession. The conduct

prohibited by Section 922(k) falls squarely within the Second Amendment’s plain

text.

                                            2.

        Having found that Section 922(k) does implicate conduct that is protected by

the Second Amendment, the statute is presumptively unconstitutional unless the

Government can show that “it is consistent with the Nation’s historical tradition of

firearm regulation.” Bruen, 142 S. Ct. at 2130. This analysis is constrained by the

Supreme Court’s definition of “historical tradition” as the time of the founding and

ratification of the Second Amendment in 1791. According to Bruen, “[h]istorical

evidence that long predates [the ratification] . . . may not illuminate the scope of the

right if linguistic or legal conventions changed in the intervening years.” Id. at 2136.

Likewise, the Court cautions that lower courts “must also guard against giving

postenactment history more weight than it can rightly bear,” by only considering

those postenactment sources that help “determine the public understanding of [the

Second Amendment]” at the time of its ratification. Id. (emphasis and alteration in

original) (citation omitted).



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      Taking those instructions together, the crux of the historical inquiry is to

determine the understanding of the right at the time it was enshrined in the

Constitution. Any modern regulation that does not comport with the historical

understanding of the right is to be deemed unconstitutional, regardless of how

desirable or important that regulation may be in our modern society.

                                          a.

      Prior to Bruen, courts considering the constitutionality of Section 922(k) found

that the requirement that a serial number not be removed was a minimal burden on

lawful gun owners compared to the value serial numbers provide to society. See, e.g.,

United States v. Marzzarella, 595 F. Supp. 596, 602–03 (W.D. Pa. 2009). Specifically,

by requiring serial numbers and “channeling the sales of firearms through federally

licensed dealers,” id. at 602, who keep a record of those sales, the Gun Control Act on

the whole helps to keep firearms out of the hands of “individuals whose possession of

them would be contrary to the public interest,” Huddleston v. United States, 415 U.S.

814, 824 (1974). And, the Third Circuit explained, “It is no secret that a chain of

custody for a firearm greatly assists in the difficult process of solving crimes. When a

firearm is stolen, determining this chain is difficult and when serial numbers are

obliterated, it is virtually impossible.” United States v. Mobley, 956 F.2d 450, 454 (3d

Cir. 1992) (emphasis supplied). Certainly, the usefulness of serial numbers in solving

gun crimes makes Section 922(k) desirable for our society. But the Supreme Court no

longer permits such an analysis.




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        Under Bruen, I am limited to considering whether Section 922(k) is “consistent

with the Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2130.

Where the regulation confronts a longstanding “perceived societal problem” that the

founders could have addressed but either did not address or addressed through

“materially different means,” the regulation is unconstitutional. Id. at 2131. On the

other hand, where the societal problem addressed by the regulation is

“unprecedented,” such that it would have been “unimaginable at the founding” or is

based on “dramatic technological changes,” the approach may be more nuanced. Id.

at 2132. In those instances, the Government may point to an analogous regulation3

in the relevant historical tradition as evidence that the modern regulation is

constitutional. In either case, the burden is on the Government to establish the

constitutionality of Section 922(k). See, e.g., id. at 2135, 2138 (“We conclude that

respondents have failed to meet their burden to identify an American tradition

justifying New         York’s proper-clause          requirement.        .   .   . [It] is therefore




3 The Court’s discussion of what constitutes an “analogous regulation” is curious. The Court explains
that lower courts should look to two metrics to determine whether a modern regulation is “relevantly
similar”: “how and why the regulations burden a law-abiding citizen’s” Second Amendment right.
Bruen, 142 S. Ct. at 2132–33. As the dissent notes, “[i]ronically, the only two ‘relevan[t]’ metrics that
the Court does identify are ‘how and why’ . . . . In other words, the Court believes that the most relevant
metrics of comparison are a regulation’s means (how) and ends (why)—even as it rejects the utility of
means-end scrutiny.” Id. at 2179 (Breyer, J., dissenting). Still, the Court insists that I am no longer
permitted to “assess the costs and benefits of firearms restrictions” or conduct an “‘interest-balancing
inquiry’ that ‘asks whether the statute burdens a protected interest in a way or to an extent that is
out of proportion to the statute’s salutary effects upon other important governmental interests.’”
Bruen, 142 S. Ct. at 2129 (citations omitted). That being the case, I am hard pressed to determine
what types of historical regulations may be “relevantly similar” to Section 922(k)’s prohibition on
possession of a firearm without a serial number. It seems to me that the only types of analogous
regulations would be those that required firearm owners to keep an identifiable mark on their firearm
and never change or remove that mark, with criminal penalties levied against violators. I am not
presented with evidence that any such regulation existed, nor has my research uncovered any.

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unconstitutional.”). Courts “are not obliged to sift the historical materials for evidence

to sustain [a] statute. That is [the Government’s] burden.” Id. at 2150.

                                           b.

      To properly frame my analysis, I begin by exploring the “societal problem”

Section 922(k) was intended to address. It is undisputed that serial numbers were

not required, or even in common use, in 1791. Rather, serial numbers arose only with

the advent of the mass production of firearms. See Thomas Henshaw, The History of

Winchester Firearms 1866–1992 ix (6th ed. 1993) (listing the first recorded serial

number on a Winchester firearm as appearing in 1866); National Park Service,

Firearm Serial Numbers, https://www.nps.gov/spar/learn/historyculture/firearm-

serial-numbers.htm (last visited Oct. 11, 2022) (stating that no serial numbers

appeared on Springfield Armory weapons until 1865). The first legal requirement for

serial numbers did not appear until 1934 when Congress passed the National

Firearms Act. Pub. L. No. 73-474, § 8(a), 48 Stat. 1236, 1239 (1934). That requirement

only applied to certain firearms, such as machine guns and short-barreled rifles. The

first precursor to Section 922(k) appeared in the Federal Firearms Act of 1938 and

made it unlawful “for any person to transport, ship, or knowingly receive in interstate

or foreign commerce any firearm from which the manufacturer’s serial number has

been removed, obliterated, or altered.” Pub. L. No. 75-785, § 2(i), 52 Stat. 1250, 1251

(1938).

      Serial numbers were not broadly required for all firearms manufactured and

imported in the United States until the passage of the Gun Control Act of 1968. Pub.



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L. 90-351, § 902, 82 Stat. 197, 232 (1968) (“Licensed importers and licensed

manufacturers shall identify . . . each firearm imported or manufactured.”). Congress

described the Gun Control Act as an Act “[t]o assist State and local governments in

reducing incidence of crime, to increase the effectiveness, fairness, and coordination

of law enforcement and criminal justice systems at all levels of government, and for

other purposes.” Id. at 197. Courts have noted that its purpose was to create “a

comprehensive scheme to regulate the movement of firearms,” Mobley, 956 F.2d at

453, “to keep firearms away from persons Congress classified as potentially

irresponsible and dangerous . . . .” Barrett v. United States, 423 U.S. 212, 218 (1976).

At that time, what is now Section 922(k) was Section 922(i). Like the Federal

Firearms Act, that section made it “unlawful for any person knowingly to transport,

ship, or receive, in interstate or foreign commerce, any firearm the importer’s or

manufacturer’s serial number of which has been removed, obliterated, or altered.”

Gun Control Act of 1968, Pub. L. 90-351, § 902, 82 Stat. 197, 231 (1968). Notably,

these prohibitions were only on transporting, shipping, or receiving firearms—that is

to say, when the firearms were in the stream of commerce.

      Even in 1968 there was no prohibition on mere possession of a firearm that

had the serial number altered or removed. In fact, it was not until the Crime Control

Act of 1990 that Section 922 was amended to insert “or to possess or receive any

firearm which has had the importer’s or manufacturer’s serial number removed,

obliterated, or altered and has, at any time, been shipped or transported in interstate

or foreign commerce.” Pub. L. No. 101-647, § 2202(b), 104 Stat. 4789, 4856 (1990). A



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review of the legislative history provides little insight into the problem Congress

hoped to address in making this change, but earlier versions containing the same

proposed change suggest that Congress intended to “broaden [the Bureau of Alcohol,

Tobacco, and Firearm’s] jurisdiction to attack the black market in firearms by

redefining the interstate nexus as it relates to stolen firearms and firearms with

obliterated serial numbers.” Comprehensive Violent Crime Control Act of 1989:

Hearing on H.R. 2709 Before the Subcomm. on Crime of the H. Comm. on the

Judiciary, 101st Cong., 2d Sess. 143 (Mar. 6, 1990).

      Given this history, the “societal problem[s]” addressed by Section 922(k)

appear to be crime, including crime involving stolen firearms, and assisting law

enforcement in solving crime. It is difficult to imagine that this societal problem did

not exist at the founding. While firearms then were not the same as firearms today,

there certainly were gun crimes that might have been more easily investigated if

firearms had to be identifiable by a serial number or other mark. The Government

has presented no evidence, and the court is not aware of any, that any such

requirement existed in 1791. And, insofar as the Gun Control Act was intended to

keep firearms out of the hands of those who might commit crimes with them, there is

evidence, as I discuss later, that the founders addressed that problem through

materially different means. According to Bruen, that the societal problem addressed

by Section 922(k) was likely in existence at the founding but not addressed by similar

means “is relevant evidence that the challenged regulation is inconsistent with the

Second Amendment.” 142 S. Ct. at 2130.



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      Even assuming the societal problem addressed by the regulation is

“unprecedented,” such that it would have been “unimaginable at the founding” or is

based on “dramatic technological changes,” id. at 2132, it is the Government’s burden

to show that there were analogous regulations at the time to support Section 922(k)’s

constitutionality. In an attempt to meet its burden, the Government argues broadly

that there is a historical tradition of “restricting the types of weapons that can be

possessed,” and that “there is a general historical practice of imposing ‘conditions and

qualifications on the commercial sale of arms.’” [ECF No. 17, at 12–13 (quoting Heller,

544 U.S. at 627)]. As I have already held, Section 922(k) is not a commercial

regulation because it criminalizes possession even after a firearm is out of the stream

of commerce. Evidence of historical commercial regulations is therefore inapposite.

      As for its argument that restrictions on certain types of weapons are

constitutional, the Government starts and stops by explaining that the Court in

Heller acknowledged three permissible limits: the firearms must be “bearable arms”

to receive protection, the arms must not be “dangerous or unusual weapons,” and the

arms must be kinds in “common use.” [ECF No. 17, at 12–13]. The Government makes

no attempt to explain how any of these limits are analogous to Section 922(k)’s

prohibition on possessing a firearm without a serial number, and I find no apparent

analogue.

      Firearms with no serial number are just as “bearable” as the same firearm

with a serial number, and there is no “common use” issue here as the presence or lack

of a serial number makes no difference with respect to whether the type of weapon is



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commonly used. Finally, I can find no authority for the idea that a firearm without a

serial number would meet the historical definition of a dangerous or unusual firearm.

In fact, as the Government points out, the commercial requirement that a serial

number be placed on a firearm “does not impair the use or functioning of a weapon in

any way.” [ECF No. 17, at 12 (quoting Marzzarella, 614 F.3d at 94)]. The mechanics

of the firearm—with or without a serial number—are the same.

      A firearm without a serial number in 1791 was certainly not considered

dangerous or unusual compared to other firearms because serial numbers were not

required or even commonly used at that time. While I recognize there is an argument,

not made by the Government here, that firearms with an obliterated serial number

are likely to be used in violent crime and therefore a prohibition on their possession

is desirable, that argument is the exact type of means-end reasoning the Supreme

Court has forbidden me from considering. And the founders addressed the “societal

problem” of non-law-abiding citizens possessing firearms through “materially

different means”—felon disarmament laws like Section 922(g)(1). Bruen, 142 S. Ct.

at 2131. Under Bruen, this is “evidence that [the] modern regulation is

unconstitutional.” Id.

                                            3.

      The burden falls on the Government to “affirmatively prove that its firearms

regulation is part of the [or analogous to a] historical tradition that delimits the outer




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bounds of the right to keep and bear arms.” Id. at 2127. The Government has not done

so here, and I have no choice but to find 18 U.S.C. § 922(k) unconstitutional.

          B. 18 U.S.C. § 922(g)(1)

      I will next consider whether the statute charged in Count One of the

Indictment, 18 U.S.C. § 922(g)(1), is constitutional post-Bruen.

      Section 922(g)(1) states in pertinent part, “It shall be unlawful for any person—

(1) who has been convicted in any court of, a crime punishable by imprisonment for a

term exceeding one year; . . . to . . . transport in interstate or foreign commerce, or

possess in or affecting commerce, any firearm . . . .” 18 U.S.C. § 922(g)(1).

                                         1.

      Under Bruen, I must first determine whether the Second Amendment’s plain

text covers the conduct at issue. While the Government argues that based on the

Court’s repeated reference to “law-abiding citizens” in Bruen, “the Second

Amendment does not extend to possession of firearms by convicted felons,” I find that

proposition relevant to the second prong of Second Amendment analysis. [ECF No.

17, at 7]; see 142 S. Ct. at 2131 (stating that Second Amendment protects “the right

of law-abiding, responsible citizens to use arms for self-defense”).

      The Supreme Court in Bruen placed emphasis on individual conduct and

instructed the court to look at “the Second Amendment’s plain text” to determine

whether the Constitution presumptively protects that conduct. 142 S. Ct. at 2126.

The “textual elements” of the Second Amendment’s operative clause— “the right of

the people to keep and bear Arms, shall not be infringed”—“guarantee the individual



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right to possess and carry weapons in case of confrontation.” Id. at 2134 (citing Heller,

554 U.S. at 592). The plain text of the Second Amendment does not include “a

qualification that Second Amendment rights belong only to individuals who have not

violated any laws.” See United States v. Jackson, No. CR-22-59-D, 2022 WL 3582504,

at *2 (W.D. Okla. Aug. 19, 2022). As such, I find that Mr. Price’s conduct is covered

by the plain text of the Second Amendment.

                                            2.

      I next consider whether the Government has established that Section 922(g)(1)

is consistent with the United States’ historical tradition of firearm regulation. As has

every other district court to address the question in the wake of Bruen, I conclude

that Section 922(g)(1) is constitutional.

      Justice Thomas opens Bruen by expressly reaffirming the holdings of the

Supreme Court’s recent Second Amendment cases, which defined the right to bear

arms as belonging to “law-abiding, responsible citizens.”

             In District of Columbia v. Heller, and McDonald v. Chicago,
             we recognized that the Second and Fourteenth
             Amendments protect the right of an ordinary, law-abiding
             citizen to possess a handgun in the home for self-defense.
             In this case, petitioners and respondents agree that
             ordinary, law-abiding citizens have a similar right to carry
             handguns publicly for their self-defense. We too agree . . . .

Bruen, 142 S. Ct. at 2122 (emphasis supplied) (citations omitted). Consistent with

that definition, the Court cautioned in Heller that “nothing in [its] opinion should be

taken to cast doubt on longstanding prohibitions on the possession of firearms by

felons.” 554 U.S. at 626. The Court described such prohibitions as “presumptively



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lawful” and falling within “exceptions” to the protected right to bear arms. Id. at 627

n.26, 635. In McDonald, a plurality of the Court repeated its “assurances” that Heller

“did not cast doubt on such longstanding regulatory measures as ‘prohibitions on the

possession of firearms by felons.’” 561 U.S. at 786 (quoting Heller, 554 U.S. at 626).

In Bruen, Justices Alito, Kavanaugh, and Roberts—who all joined the majority

opinion—repeated in their concurring opinions that their intent was to leave

undisturbed government regulations that prohibit people who have been convicted of

felonies from carrying firearms. 142 S. Ct. at 2157, 2161 (Alito, J., concurring)

(Kavanaugh, J., concurring).

      In keeping with Heller and McDonald, Justice Thomas was similarly careful

to state throughout Bruen that the Second Amendment protects “the right of law-

abiding, responsible citizens to use arms for self-defense.” See id. at 2122, 2131, 2133,

2134, 2138, 2150, 2155 (emphasis supplied); [ECF No. 17, at 7]. The Government

reasons that the Court’s reaffirmation of its precedent in Heller and McDonald, in

addition to Justice Thomas’ emphasis that the Second Amendment protects the rights

of “law-abiding” citizens, demonstrates the Court’s recognition of the exclusion of

felons from the protection of the Second Amendment—even though the plain text of

the Second Amendment covers their conduct in possessing firearms.

      To be sure, much of the language quoted by the Court in Bruen, both in the

majority and the concurring opinions, is dicta, and courts are “not bound by dicta or

separate opinions of the Supreme Court.” Myers v. Loudoun Cnty. Pub. Schs., 418

F.3d 395, 406 (4th Cir. 2005). Nevertheless, the Fourth Circuit has repeatedly



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instructed that “[w]e routinely afford substantial, if not controlling deference to dicta

from the Supreme Court,” “particularly when the supposed dicta is recent and not

enfeebled by later statements.” Hengle v. Treppa, 19 F.4th 324, 347 (4th Cir. 2021)

(internal citations omitted); Manning v. Caldwell, 930 F.3d 264, 281 (4th Cir. 2019)

(en banc); McCravy v. Metro. Life Ins. Co., 690 F.3d 176, 181 n.2 (4th Cir. 2012) (“[W]e

cannot simply override a legal pronouncement endorsed . . . by a majority of the

Supreme Court.”).

      Relying on the same dicta in the wake of Bruen, at least nine federal district

courts have rejected constitutional challenges to Section 922(g)(1). See, e.g., United

States v. Jackson, No. CR 21-51 (DWF/TNL), 2022 WL 4226229, at *2 (D. Minn. Sept.

13, 2022) (upholding Section 922(g)(1) for similar reasons as those stated here and

remarking that “[w]hile Jackson would like this Court to scrutinize the history of

felon-in-possession statutes, such examination is unnecessary at this time.”); United

States v. King, No. 21-CR-255 (NSR), 2022 WL 5240928 (S.D.N.Y. Oct. 6, 2022);

United States v. Charles, No. MO:22-CR-00154-DC, 2022 WL 4913900 (W.D. Tex.

Oct. 3, 2022); United States v. Siddoway, No. 1:21-CR-00205-BLW, 2022 WL 4482739

(D. Idaho Sept. 27, 2022); United States v. Collette, No. MO:22-CR-00141-DC, 2022

WL 4476790 (W.D. Tex. Sept. 25, 2022); United States v. Coombes, No. 22-CR-00189-

GKF, 2022 WL 4367056 (N.D. Okla. Sept. 21, 2022); United States v. Hill, No.

21CR107 WQH, 2022 WL 4361917 (S.D. Cal. Sept. 20, 2022); United States v.

Cockerham, No. 5:21-CR-6-DCB-FKB, 2022 WL 4229314 (S.D. Miss. Sept. 13, 2022);

United States v. Burrell, No. 21-20395, 2022 WL 4096865 (E.D. Mich. Sept. 7, 2022);


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United States v. Ingram, No. CR 0:18-557-MGL-3, 2022 WL 3691350 (D.S.C. Aug. 25,

2022).

         I do not find it necessary to engage in the historical analysis test articulated in

Bruen as to 18 U.S.C. § 922(g)(1). 4 Rather, I am convinced that the Supreme Court

left generally undisturbed the regulatory framework that keeps firearms out of the

hands of dangerous felons through its decision in Bruen by reaffirming and adhering

to its reasoning in Heller and McDonald. Mr. Price essentially argues that Bruen

should be taken to “cast doubt on longstanding prohibitions on the possession of

firearms by felons,” which is a marked departure from McDonald and Heller that was

specifically not taken by the Supreme Court in Bruen. Cf. McDonald, 561 U.S. at 786;

Heller, 554 U.S. at 626.




4 The Government provided several pages of citations to the historical record that have been relied
upon by other courts in upholding 18 U.S.C. § 922(g)(1) as constitutional, which went largely
unrebutted by Mr. Price in his Reply. I find that even if the Supreme Court intended for courts to
reexamine felon-in-possession statutes, the Government has met its burden of proving that Section
922(g)(1) fits comfortably within the nation’s longstanding tradition of disarming unvirtuous or
dangerous citizens. [ECF No. 17, at 6–10 (citing United States v. Carter, 669 F.3d 411, 415 (4th Cir.
2012) (“Placed in the wrong hands, firearms present a grave threat to public safety, and for this reason,
the Anglo-American right to bear arms has always recognized and accommodated limitations for
persons perceived to be dangerous.”); United States v. Carpio-Leon, 701 F.3d 974, 980 (4th Cir. 2012)
(“[H]istorical evidence support[s] the notion that government could disarm individuals who are not
law-abiding members of the political community.”); Binderup v. Att’y Gen. U.S. of Am., 836 F.3d 336,
349 (3d Cir. 2016) (“The view that anyone who commits a serious crime loses the right to keep and
bear arms dates back to our founding era.”); United States v. Bena, 664 F.3d 1180, 1184 (8th Cir. 2011)
(recognizing “a common-law tradition that the right to bear arms is limited to peaceable or virtuous
citizens”); Kanter v. Barr, 919 F.3d 437, 445 (7th Cir. 2019) (“[F]elons were not historically understood
to have Second Amendment rights.”); United States v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (“Many
of the states, whose own constitutions entitled their citizens to be armed, did not extend this right to
persons convicted of crime [in the eighteenth century].” (citing Stephen P. Halbrook, The Founders’
Second Amendment 273 (2008))); Thomas M. Cooley, A Treatise on the Constitutional Limitations
Which Rest Upon the Legislative Power of the States of the American Union 29 (1st ed. 1868)
(explaining that some classes of people were “almost universally excluded” from exercising certain
civic rights, including “the felon, on obvious grounds”))].

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                                        3.

      In keeping with Justice Thomas’ insistence that “law-abiding” citizens are

protected by the Second Amendment, Section 922(g)(1)—which aims to ensure that

those bearing arms are law-abiding, responsible citizens—accords with the Second

Amendment. As such, Mr. Price’s motion to dismiss the indictment against him is

DENIED as to 18 U.S.C. § 922(g)(1).

IV.   CONCLUSION

      For the foregoing reasons, Mr. Price’s motion to dismiss the indictment [ECF

No. 12] is GRANTED as to Count Two and DENIED as to Count One. Count Two of

the Indictment [ECF No. 1] is DISMISSED. The court DIRECTS the Clerk to send a

copy of this Order to the defendant and counsel, the United States Attorney, the

United States Probation Office, and the United States Marshal. The court further

DIRECTS the Clerk to post a copy of this published opinion on the court’s website,

www.wvsd.uscourts.gov.

                                      ENTER:      October 12, 2022




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